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                             UNITED STATES DISTICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,
               Plaintiff,

vs.                                                            21-MJ-00014 (GMH)




ANTHIME GIONET,
               Defendant.


                                              ORDER

       Upon consideration of the consent motion to continue this matter and exclude time

under the Speedy Trial Act, and upon consideration of the entire record, it is hereby

       ORDERED that the Motion is Granted; it is further

       ORDERED that the currently scheduled status conference currently set for March 22,

2022, be continued for good cause to April 19, 2022 at 1 p.m.; and it is further

       ORDERED that the time between March 22, 2022, and April 19, 2022, shall be

excluded from calculation under the Speedy Trial Act, see 18 U.S.C. § 3161(h)(7)(A).

The Court finds that the ends of justice served by the granting of such a continuance

outweighs the best interests of the public and the defendant in a speedy trial, as a continuance

will provide time for all parties to be present.

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                                          THE HON. ZIA M. FARUQUI
                                          UNITED STATES MAGISTRATE JUDGE
